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OFFICE OF THE STANDING CHAPTER 13 TRUSTEE
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                                   UNITED STATES BANKRUPTCY COURT
                                     NORTHERN DISTRICT OF TEXAS
                                         FORT WORTH DIVISION


IN RE:                                                  §       CASE NO:17-40738-MXM
                                                        §
JESUS HECTOR VALDES                                     §       CHAPTER 13
ELEASCIA FOSTER VALDES                                  §       JUDGE MARK X MULLIN
                                                        §
            DEBTORS
                                                        §

            NOTICE OF COMPLETION OF CHAPTER 13 PLAN PAYMENTS TO TRUSTEE

According to the records of the Chapter 13 Trustee the Debtors have completed all payments to the Trustee
under the confirmed chapter 13 plan.

    Debtors have 21 days to file a Certification and Motion for Entry of the Chapter 13 Discharge , if eligible.



                                                                /s/ Tim Truman
                                                                Tim Truman, Trustee/State Bar # 20258000
                                                                Standing Chapter 13 Trustee


                                         CERTIFICATE OF SERVICE
I hereby certify that a true and correct copy of the foregoing "Notice of Completion of Chapter 13 Plan Payments
to Trustee" was served on the parties listed below in the manner listed below on or before 02/16/2022.

    BY FIRST CLASS MAIL:
    JESUS HECTOR VALDES, ELEASCIA FOSTER VALDES, 1320 SENITA CACTUS ST, FORT WORTH, TX 76177-0000

    ELECTRONIC SERVICE:
    STEELE LAW FIRM PLLC, 3629 LOVELL AVE #100, FORT WORTH, TX 76107
    ATTORNEY GENERAL OF TEXAS, COLLECTIONS DIV/BANKRUPTCY SEC, PO BOX 12548, AUSTIN, TX 78711-2548
    United States Trustee, 1100 COMMERCE STREET, ROOM 976, DALLAS, TX 75242

                                                                  /s/ Tim Truman
                                                                 Tim Truman, Trustee/State Bar # 20258000
                                                                 Standing Chapter 13 Trustee
